              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BEDFORD COUNTY,

           Plaintiff,

     vs.

PURDUE PHARMA L.P.; PURDUE
PHARMA INC.; THE PURDUE           C.A. No. ___________
FREDERICK COMPANY, INC.;
TEVA PHARMACEUTICALS USA, INC.; (Removal from: The Court of
CEPHALON, INC.; JOHNSON &         Common Pleas of Delaware County)
JOHNSON; JANSSEN
PHARMACEUTICALS, INC.;
NORAMCO, INC.; ORTHO-MCNEIL-
JANSSEN PHARMACEUTICALS, INC.
N/K/A JANSSEN PHARMACEUTICALS,
INC.; JANSSEN PHARMACEUTICA,
INC. N/K/A JANSSEN
PHARMACEUTICALS, INC.; ENDO
HEATLH SOLUTIONS INC.; ENDO
PHARMACEUTICALS, INC.;
MCKESSON CORPORATION;
CARDINAL HEALTH, INC.; RICHARD
S. SACKLER; JONATHAN D.
SACKLER; MORTIMER D.A. SACKLER;
KATHE A. SACKLER; ILENE SACKLER
LEFCOURT; BEVERY SACKLER;
THERESA SACKLER; DAVID A.
SACKLER; RHODES TECHNOLOGIES;
RHODES TECHNOLOGIES, INC.;
RHODES PHARMACEUTICALS L.P.;
RHODES PHARMACEUTICALS, INC.;
TRUST FOR THE BENEFIT OF
MEMBERS OF THE RAYMOND
SACKLER FAMILY; THE P.F
LABORATORIES, INC.; STUART D.
BAKER; ALLERGAN PLC F/K/A
ACTAVIS PLC; WATSON
PHARMACEUTICALS, INC. N/K/A
ACTAVIS, INC.; WATSON
LABORATORIES, INC.; ACTAVIS, LLC;
ACTAVIS PHARMA, INC. F/K/A
WATSON PHARMA, INC.; PAR
PHARMACEUTICAL, INC.; PAR
PHARMACEUTICALS COMPANIES,
INC.; MALLINCKRODT PLC;
MALLINCKRODT LLC; SPECGX LLC;
ANDA, INC.; CVS HEALTH
CORPORATION; RITE AID OF
MARYLAND, INC., DBA RITE AID MID-
ATLANTIC CUSTOMER SUPPORT
CENTER, INC.; RITE AID
CORPORATION; WAL-MART INC.;
INSYS THERAPEUTICS, INC.;
AMNEAL PHARMACEUTICALS, LLC;
ECKERD CORPORATION;
ROCHESTER DRUG CO-OPERATIVE,
INC.; VALUE DRUG,

            Defendants.


                            NOTICE OF REMOVAL

      In accordance with 28 U.S.C. §§ 1331, 1332, 1441, 1446, 1453, and 1367 with

full reservations of defenses, including its objection to personal jurisdiction,

Defendant CVS Health Corporation gives notice of the removal of this action

originally filed in the Court of Common Pleas of Bedford County, Pennsylvania and

now pending in the coordinated proceedings located in the Court of Common Pleas

of Delaware County, Pennsylvania to the United States District Court for the

Eastern District of Pennsylvania. In support of removal, CVS provides this “short

and plain statement of the grounds for removal.” 28 U.S.C. § 1446(a); see also Dart

Cherokee Basis Operating Co., LLC v. Owens, 135 S. Ct. 547, 553 (2014) (“By design,




                                        2
§ 1446(a) tracks the general pleading requirement stated in Rule 8(a) of the Federal

Rules of Civil Procedure.”).

I.            NATURE OF THE REMOVED ACTION.

         1.   The complaint in this case is substantively identical to Adams County

v. Purdue Pharma L.P., et al., Case No. 2:19-cv-04438-JS (E.D. Pa., 2019), which

CVS removed on September 20, 2019, and was transferred by the Judicial Panel on

Multidistrict Litigation to the Opiate MDL pending in the United States District

Court for the Northern District of Ohio on February 5, 2020. JPML Dkt. No. 7035.

         2.   On February 20, 2020, Plaintiff Bedford County, Pennsylvania

(“Plaintiff”) b o r r o w e d t h e A d a m s C o u n t y c o m p l a i n t a n d filed it

under its own name in the Court of Common Pleas of Bedford County, Civil

Division, for claims relating to prescription opioid medications. The case was later

transferred to the consolidated proceedings located in the Delaware County Court of

Common Pleas. Plaintiff         alleges    claims    against    two   defendant     groups

(“Defendants”): Manufacturer Defendants and Distributor Defendants. As a subset

of the Distributor Defendants, Plaintiff notes that Defendants CVS, Rite Aid, and

Walmart1 shall be referred to as “National Retail Pharmacies.”2

         3.   Plaintiff brings claims related to prescription opioid medications,



    Plaintiff named Wal-Mart Inc. as a defendant to this action; as of February 1, 2018,
     1

Wal-Mart Stores, Inc. became known as Walmart Inc., not Wal-Mart Inc.

     See Complaint ¶ 136 (“Cardinal, McKesson, Rochester Drug Co-Operative, Anda,
     2

Value Drug, and the National Retail Pharmacies are collectively referred to as the
‘Distributor Defendants.’”).

                                             3
including claims for (1) consumer fraud and deceptive practices under the

Pennsylvania Unfair Trade Practices and Consumer Protection Law (“UTPCPL”);

(2) public nuisance; (3) negligence; (4) unjust enrichment; (5) common law fraud; (6)

civil conspiracy for deceptive marketing; and (7) civil conspiracy for unlawful

distribution practices. Plaintiff seeks damages and equitable relief for alleged

injuries to the residents of Bedford County.

      4.       This action is one of approximately 2,600 opioid lawsuits filed by

government      entities   against   manufacturers,   distributors,   and   retailers   of

prescription opioid medications. Plaintiff alleges that Defendants are liable for the

economic and non-economic injuries suffered by Plaintiff and its residents,

including physicians treating residents and employees,            and   opioid-addicted

individuals.

      5.       On December 5, 2017, the Judicial Panel on Multidistrict Litigation

created a Multidistrict Litigation in the Northern District of Ohio (the “Opiate

MDL”) for cases just like this one—cases in which “cities, counties and

states . . . allege that: (1) manufacturers of prescription opioid medications

overstated the benefits and downplayed the risks of the use of their opioids and

aggressively marketed . . . these drugs to physicians, and/or (2) distributors failed to

monitor . . . and report suspicious orders of prescription opiates.” In re Nat’l

Prescription Opiate Litig., MDL No. 2804, Dkt. No. 1 (Dec. 12, 2017 Transfer Order)

(attached hereto as Exhibit 1). To date, approximately 2,000 actions have been

transferred to the Opiate MDL.

                                            4
      6.     Plaintiff’s   271-page   Complaint   resembles    virtually   all   of   the

complaints filed in the Opiate MDL. The bulk of the allegations in these

complaints have been levied by counties against the manufacturers for alleged

deceptive marketing of prescription opioids from approximately the 1990s to

present. In fact, the allegations against the manufacturers and distributors here

are nearly identical to those asserted in The County of Summit, Ohio, et. al. v.

Purdue Pharma L.P., et al., MDL No. 17-md-2804, Case No. 1:18-op-45090, a

bellwether case currently being litigated in the Opiate MDL.

      7.     In addition, Plaintiff’s Complaint is nearly identical to the Complaint

filed by the same Plaintiff’s counsel and removed to this Court by Defendant

Walgreens on December 31, 2018. County of Carbon v. Purdue Pharma L.P., No.

2:18-cv-05625, E.D. Pa. Dkt. No. 1 (E.D. Pa., Dec. 31, 2018). On March 12, 2019,

Chief Judge Juan R. Sanchez stayed proceedings pending decision on transfer by

the JPML. In doing so, Chief Judge Sanchez recognized that “a stay would promote

judicial economy by conserving the parties’ resources, avoiding duplicative

litigation, and preventing inconsistent rulings.” See id., E.D. Pa. Dkt. No. 51.

(Walgreens later consented to remand of the Carbon County action while that

action was pending in the Opiate MDL. But nothing about that remand affects the

removability of this action or changes the analysis of whether similar actions should

also be transferred to the Opiate MDL.)

      8.     The gravamen of Plaintiff’s Complaint is that certain so-called

Manufacturer Defendants made various “misrepresentations” regarding the safety

                                          5
and efficacy of opioids that were subsequently distributed “though various channels,

including through advertising, sales representatives, [and] purportedly independent

organizations,” in order to “convince physicians, patients, and the public at large of

the truth of each of these propositions . . . [and] to expand the market for their

opioids.” Complaint ¶¶ 199-201.

      9.     Plaintiff also alleges that certain Distributor Defendants “distributed,

supplied, sold, and placed into the stream of commerce the prescription opioids,

without fulfilling the fundamental duty of wholesale drug distributors to detect and

warn of diversion of dangerous drugs for non-medical purposes.” Complaint ¶ 110.

According to Plaintiff, Distributor Defendants “universally failed to comply with

federal and/or state law,” which, Plaintiff alleges, “is a substantial cause for the

excessive volume of prescription opioids plaguing Plaintiff’s Community and of the

diversion of prescription opioids into Plaintiff’s Community.” Id.

      10.    Based on these allegations, Plaintiff claims a litany of injuries to its

residents stemming from the alleged abuse of addictive opioids by residents in

Bedford County. These include alleged damages in the form of expenses expended

for medical insurance claims for opioids that were not medically necessary, as well

as increased costs of social services, emergency services, health systems, law

enforcement, and treatment facilities. E.g., Complaint ¶ 946.




                                           6
II.       BASIS OF REMOVAL

          A. FEDERAL QUESTION

          11.   Removal is proper under 28 U.S.C. §§ 1441 and 1331 because Plaintiff’s

claims present a substantial federal question under the Controlled Substances Act

(“CSA”), 21 U.S.C. §§ 801, et seq.).

          12.   The original jurisdiction of the district courts includes jurisdiction over

“all civil actions arising under the Constitution, laws, or treaties of the United

States.” 28 U.S.C. § 1331.

          13.   “Whether a case ‘arises under’ federal law for purposes of § 1331” is

governed by the “well-pleaded complaint rule.” Holmes Grp., Inc. v. Vornado Air

Circulation Sys., Inc., 535 U.S. 826, 830 (2002).

          14.   Even when state law creates the causes of action, a petition may raise

a substantial question of federal law sufficient to warrant removal if “vindication of

a right under state law necessarily turn[s] on some construction of federal law.”

Merrell Dow Pharm. Inc. v. Thompson, 478 U.S. 804, 808-09 (1986) (quoting

Franchise Tax Bd. v. Constr. Laborers Vacation Tr., 463 U.S. 1, 9 (1983)); Gully v.

First Nat’l Bank, 299 U.S. 109, 112 (1936) (“To bring a case within [§ 1441], a right

or immunity created by the Constitution or laws of the United States must be an

element, and an essential one, of the plaintiff’s cause of action.”).3



     CVS need not overcome any artificial presumptions against removal or in favor of
      3

remand. In Breuer v. Jim’s Concrete of Brevard, Inc., 538 U.S. 691 (2003), the Supreme
Court unanimously held that the 1948 amendments to the general federal removal statute,
28 U.S.C. § 1441(a), trumped the Court’s prior holdings in Shamrock Oil & Gas Corp. v.

                                              7
       15.    “[F]ederal jurisdiction over a state law claim will lie if a federal issue

is: (1) necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of

resolution in federal court without disrupting the federal-state balance approved by

Congress.” Gunn v. Minton, 568 U.S. 251, 258 (2013); see Grable & Sons Metal

Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 315 (2005). “Where all four of

these requirements are met . . . jurisdiction is proper because there is a ‘serious

federal interest in claiming the advantages thought to be inherent in a federal

forum,’ which can be vindicated without disrupting Congress’s intended division of

labor between state and federal courts.” Gunn, 568 U.S. at 258 (quoting Grable, 545

U.S. at 313-14).

       16.    When a purported state law claim is premised on violations of duty

contained in a federal statute, a federal court has jurisdiction over that claim. See


Sheets, 313 U.S. 100 (1941), and its antecedents that federal jurisdictional statutes must be
strictly construed against any recognition of federal subject matter jurisdiction, with every
presumption indulged in favor of remand. Id. at 697-98 (“[W]hatever apparent force this
argument [of strict construction against removal] might have claimed when Shamrock was
handed down has been qualified by later statutory development. . . . Since 1948, therefore,
there has been no question that whenever the subject matter of an action qualifies it for
removal, the burden is on a plaintiff to find an express exception.” (emphasis added)); see
also Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 558 (2005) (construing 1990
enactment of 28 U.S.C. § 1367, authorizing supplemental federal subject matter
jurisdiction, and holding: “We must not give jurisdictional statutes a more expansive
interpretation than their text warrants; but it is just as important not to adopt an artificial
construction that is narrower than what the text provides . . . Ordinary principles of
statutory construction apply.” (citation omitted)).

    More recently, a unanimous Supreme Court in Mims v. Arrow Financial Services, LLC
held: “‘Divestment of district court jurisdiction’ should be found ‘no more readily than
‘divestment of state court jurisdiction,’ given ‘the longstanding and explicit grant of federal
question jurisdiction in 28 U.S.C. § 1331.’” 565 U.S. 368, 379 (2012) (alterations omitted)
(quoting ErieNet, Inc. v. Velocity Net, Inc., 156 F.3d 513, 523 (3d Cir. 1998) (Alito, J.,
dissenting)).

                                              8
Bd. of Commissioners of Se. La. Flood Protection Authority-East v. Tenn. Gas

Pipeline Co., 850 F.3d 714, 722-23 (5th Cir. 2017) (concluding that federal question

jurisdiction exists because claims were premised on the failure to satisfy a standard

of care established in federal statute). Federal jurisdiction is established if there is

no “state law grounding for the duty that the [plaintiff] would need to establish for

the Defendants to be liable,” because the absence of any such state source “means

that the duty would have to be drawn from federal law.” Id. at 723. A claim

premised on the breach of such a duty “cannot be resolved without a determination

whether . . . federal statutes create [such] a duty,” and therefore necessarily raises a

federal question. Id.; see also Hughes v. Chevron Phillips Chem. Co., 478 F. App’x

167, 170-71 (5th Cir. 2012) (plaintiff’s state law claims gave rise to federal question

jurisdiction because resolution of claims relied on duty contained in federal law).

       17.    As set forth below, Plaintiff’s tort claims meet all four requirements.

       18.    Although Plaintiff ostensibly pleads some of its theories of recovery

against CVS as state law claims, it bases the underlying theory of liability on CVS’s

alleged violations of federal law or alleged duties arising out of federal law,

specifically the CSA.4


   4 Plaintiff relies on the Pennsylvania Controlled Substance, Drug, Device, and Cosmetic
Act (“PCSA”), 35 P.S. § 780, et seq. Complaint ¶ 522. But this statute does not establish a
duty to report or halt suspicious orders. For example, Plaintiff cites 35 P.S. § 780-112(c) for
the proposition that the PCSA “require[s] the Distributor Defendants to ‘design and operate
a system to disclose . . . suspicious orders of controlled substances . . . Suspicious orders
include orders of unusual size, orders deviating substantially from a normal patter, and
orders of unusual frequency.’ 35 P.S. § 780-112(c) (incorporating 21 C.F.R. § 1301.74(b)).”
Id. at ¶ 525. But 35 P.S. § 780-112(c) does not contain the above-quoted language. It merely
requires persons registered under the PCSA to “keep records and maintain inventories in

                                              9
       19.    For instance, Plaintiff pleads that CVS and the other Distributor

Defendants violated federal law with, among others, the following allegations:

       a. Distributor Defendants were “required to register with the DEA
          to . . . distribute Schedule II controlled substances. See 21 U.S.C.
          § 823(a)-(b) . . . . These Defendants were further required to take
          steps to halt suspicious orders. These Defendants violated their
          obligations under federal law.” Complaint at ¶ 521.

       b. “Distributor Defendants . . . failed to monitor for, report, and
          prevent suspicious orders of opioids as required by federal and state
          law.” Id. at ¶ 1029.

       c. “The Defendants also had reciprocal obligations under the [federal]
          CSA to report suspicious orders of other parties if they became
          aware of them.” Id. at ¶ 571.

       d. “Under the [federal] CSA, pharmacy registrants are required to
          ‘provide effective controls and procedures to guard against theft and
          diversion of controlled substances.’” Id. at ¶ 692 (quoting 21 C.F.R.
          § 1301.11).

       e. “Because pharmacies themselves are registrants under the [federal]
          CSA, the duty to prevent diversion lies with the pharmacy entity,
          not the individual pharmacist alone.” Id.

       f. “Defendants have several responsibilities under state and federal
          law with respect to control of the supply chain of opioids. First, they
          must set up a system to prevent diversion, including excessive

conformity with the record-keeping, order form and inventory requirements of Federal law
and with any additional regulations the secretary issues.” 35 P.S. § 780-112(c). And even if
it did, such language would only bolster CVS’s argument that suspicious order reporting
duties stem from federal law, not state law.

    Plaintiff further claims that, under the PCSA and the Pennsylvania Wholesale
Prescription Drug Distributors License Act (“WPDDLA”), 63 P.S. § 391, et seq., the
“Distributor Defendants are required to establish effective controls against suspicious
orders to prevent prescription drugs from being diverted into the community,
including . . . [r]eporting suspicious orders of controlled substances, including prescription
opioids, to alert regulatory and law enforcement officials when it appears that prescription
drugs are being diverted for illegal use . . . .” Complaint ¶ 526. But again, neither statute
requires the reporting of “suspicious orders.”

                                             10
            volume and other suspicious orders. . . . Further, they must also
            stop shipment of any order which is flagged as suspicious . . . .” Id.
            at ¶ 533.

      g. “Despite their legal obligations as registrants under the [federal]
         CSA, the National Retail Pharmacies allowed widespread diversion
         to occur—and they did so knowingly.” Id. at ¶ 699.

      h. “Defendants continued to pump massive quantities of opioids
         despite their obligations to control the supply, prevent diversion,
         report and take steps to halt suspicious orders.” Id. at ¶ 678.

      i. “The National Retail Pharmacies failed to take meaningful action to
         stop this diversion despite their knowledge of it and contributed
         substantially to the diversion problem.” Id. at ¶ 689.

      j. “Defendants had a duty not to breach the standard of care
         established under Pennsylvania law and the federal [CSA] and its
         implementing regulations to report suspicious prescribing and to
         maintain systems to detect and report such activity.” Id. at ¶ 954.

      20.      The source of the asserted legal duties to prevent diversion and to

monitor, investigate, and report suspicious orders of controlled substances is the

CSA and its implementing regulations. See 21 U.S.C. § 823(b), (e); id. § 832; id.

§ 842(c)(1)(B); 21 C.F.R. §§ 1301.71, .74(b).

      21.      The source of the asserted legal duty to suspend shipments of

suspicious orders is 21 U.S.C. § 823(b) and (e), as interpreted by the Drug

Enforcement Administration (“DEA”) of the United States Department of Justice.

The DEA interprets the public interest factors for registering distributors under the

CSA, 21 U.S.C. § 823(b) and (e), to impose a responsibility on distributors to

exercise due diligence to avoid filling suspicious orders that might be diverted to

unlawful uses. See Masters Pharm., Inc. v. DEA, 861 F.3d 206, 212-13 (D.C. Cir.


                                            11
2017) (citing In re Southwood Pharm., Inc., Revocation of Registration, 72 Fed. Reg.

36,487, 36,501, 2007 WL 1886484 (DEA July 3, 2007), as source of DEA’s “Shipping

Requirement”).

      22.    Plaintiff’s theories of liability against CVS and the other Defendants,

as pleaded in the Complaint, are thus predicated on allegations that Defendants

breached alleged duties under the CSA to implement effective controls against

diversion and to detect and report “suspicious” orders for prescription opioids.

      23.    The federal question presented by Plaintiff’s claims therefore is

“(1) necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of

resolution in federal court without disrupting the federal-state balance approved by

Congress.” Gunn, 568 U.S. at 258.

      24.    First, Plaintiff’s state law claims “necessarily raise” a federal question.

That is because Plaintiff’s asserted right to relief under state law necessarily

requires resolution of a federal question. Virgin Islands Hous. Auth. v. Coastal Gen.

Constr. Servs. Corp., 27 F.3d 911, 916 (3d Cir. 1994) (“[A]n action under 28 U.S.C. §

1331(a) arises only if the complaint seeks a remedy expressly granted by federal law

or if the action requires construction of a federal statute, or at least a distinctive

policy of a federal statute requires the application of federal legal principles.”)

(emphasis added); Bd. of Commissioners of Southeast Louisiana Flood Protection

Agency—East v. Tennessee Gas Pipeline Company, L.L.C., 850 F.3d 714, 722-23 (5th

Cir. 2017) (federal question necessarily raised where negligence and public nuisance

claims relied on the court’s interpretation of the scope of a duty of care contained in

                                          12
federal law); Hughes v. Chevron Phillips Chemical Co., LP, 478 F. App’x 167, 170-71

(5th Cir. 2012); see also N. Carolina ex rel. N. Carolina Dep’t of Admin. v. Alcoa

Power Generating, Inc., 853 F.3d 140, 146 (4th Cir. 2017) (“Regardless of the

allegations of a state law claim, ‘where the vindication of a right under state law

necessarily turns on some construction of federal law,’ the claim arises under

federal law and thus supports federal question jurisdiction under 28 U.S.C. § 1331.”

(alteration omitted)); NASDAQ OMX Grp., Inc. v. UBS Securities, LLC, 770 F.3d

1010, 1021-23 (2d Cir. 2014) (a duty derived from the Exchange Act to operate a fair

and orderly market underpinned plaintiff’s contract and tort claims and therefore

necessarily raised a federal question).

      25.    Plaintiff’s claims against CVS and the other Distributor Defendants

require Plaintiff to establish that Defendants breached duties established

exclusively under federal law by failing to monitor, investigate, and report

shipments of otherwise lawful orders of controlled substances or by otherwise

failing to maintain controls against diversion.

      26.    The Complaint entirely fails to cite any Pennsylvania statutory or

regulatory provision imposing a duty on dispensers of prescription medications to

“monitor prescription orders,” in the dispensing of prescription opioids. This is

because, as explained above, these duties necessarily arise under the federal CSA

and regulations.

      27.    While Plaintiff is the master of its petition, and it “may avoid federal

jurisdiction by exclusive reliance on state law,” Caterpillar, Inc. v. Williams, 482

                                          13
U.S. 386, 392 (1987) (emphasis added), Plaintiff here relies on violations of federal

law as the basis for its state-law claims.5 And Plaintiff “may not defeat removal by

omitting to plead necessary federal questions in a complaint.” Cahall v.

Westinghouse Elec. Corp., 644 F. Supp. 806, 809 (E.D. Pa. 1986).

       28.    In sum, despite Plaintiff’s attempt to disguise the federal question, the

Complaint necessarily raises a federal issue: whether the Distributor Defendants

violated the CSA.

       29.    Second, this federal issue is “actually disputed” because the parties

disagree as to the existence and scope of alleged duties arising under the CSA and

whether the Distributor Defendants violated any duties arising under the CSA.

Indeed, this federal issue is the “central point of dispute.” Gunn, 568 U.S. at 259.

       30.    Third,     the    federal   issue     presented    by   Plaintiff’s   claims     is

“substantial.”6 “The substantiality inquiry under Grable looks . . . to the importance

of the issue to the federal system as a whole.” Id. at 260. Among other things, the

   5 Furthermore, it is not necessary for federal jurisdiction that CVS establish that all of
Plaintiff’s counts raise a federal question. Even if Plaintiff could prove one or more of those
counts without establishing a violation of federal law, this Court still has federal question
jurisdiction: “Nothing in the jurisdictional statutes suggests that the presence of related
state law claims somehow alters the fact that [the] complaints, by virtue of their federal
claims, were ‘civil actions’ within the federal courts’ ‘original jurisdiction.’” City of Chicago
v. Int’l College of Surgeons, 522 U.S. 156, 166 (1997). Because the Court has original
jurisdiction over at least some counts against Defendant, it has supplemental jurisdiction
over Plaintiff’s remaining counts against Defendant, and other Defendants, which are so
related that they “form part of the same case or controversy.” 28 U.S.C. § 1367(a).

   6 The substantiality inquiry as it pertains to federal question jurisdiction is distinct
from the underlying merits of Plaintiff’s claims and has no bearing on the strength of those
claims. See Gunn, 568 U.S. at 260 (“The substantiality inquiry under Grable looks . . . to the
importance of the issue to the federal system as a whole.”).

                                               14
Court must assess whether the federal government has a “strong interest” in the

federal issue at stake and whether allowing state courts to resolve the issue will

“undermine ‘the development of a uniform body of [federal] law.’” Id. at 260-61 (first

quoting Grable, 545 U.S. at 315; then quoting Bonito Boats, Inc. v. Thunder Craft

Boats, Inc., 489 U.S. 141, 162 (1989)). As the Supreme Court explained in Grable,

“[t]he doctrine captures the commonsense notion that a federal court ought to be

able to hear claims recognized under state law that nonetheless turn on substantial

questions of federal law, and thus justify resort to the experience, solicitude, and

hope of uniformity that a federal forum offers on federal issues.” 545 U.S. at 312.

      31.    Plaintiff’s theories of liability necessarily require that a court

determine a question relating to the important federal issue of regulation of

controlled substances. Indeed, Congress designed the CSA with the intent of

reducing illegal diversion of controlled substances, “while at the same time

providing the legitimate drug industry with a unified approach to narcotic and

dangerous drug control.” H.R. Rep. No. 1444, 91st Cong., 2nd Sess. (1970), as

reprinted in 1970 U.S.C.C.A.N. 4566, 4571-72.

      32.    The text of the CSA itself notes that “illegal importation, manufacture,

distribution, and possession and improper use of controlled substances have a

substantial and detrimental effect on the health and general welfare of the

American people” and that “[f]ederal control of the intrastate incidents of the traffic

in controlled substances is essential to the effective control of the interstate

incidents of such traffic.” 21 U.S.C. § 801. Thus, “[g]iven that . . . the plaintiffs’

                                          15
claims turn on the interpretation of the federal regulations governing” the

distribution of controlled substances “and the importance of those regulations to the

Congressional scheme, this case plainly falls within the narrow swath of cases

described in Grable.” Anversa v. Partners Healthcare Sys., Inc., 835 F.3d 167, 174

n.5 (1st Cir. 2016).

      33.    Plaintiff’s attempt to enforce the CSA raises a substantial federal

question even though the CSA does not provide for a private right of action. In

Grable, the Supreme Court held that lack of a federal cause of action does not

foreclose federal-question jurisdiction. The Court stated that applying Merrell Dow

too narrowly would both “overturn[] decades of precedent,” and convert[] a federal

cause of action from a sufficient condition for federal question jurisdiction into a

necessary one.” Grable, 545 U.S. at 317; see also, e.g., Ranck v. Mt. Hood Cable Reg.

Comm’n, 2017 WL 1752954, at *4-5 (D. Or., May 2, 2017) (state law claims based on

violations of Cable Communications Policy Act raise substantial federal questions

and satisfy Grable even though no private right of action exists under the Act).

      34.    Removal is especially appropriate here because Plaintiff’s action is one

of thousands of similar actions nationwide, most of which are pending in the MDL

in the Northern District of Ohio. Indeed, Plaintiff claims that both the “opioid

epidemic” and Defendants’ alleged misconduct occurred on a national scale. E.g,

Complaint ¶¶ 16, 451. And Plaintiff relies on enforcement actions and settlements

in jurisdictions outside of Pennsylvania to establish wrongful conduct. E.g., id.

¶¶ 58, 267, 542, 721-25. The MDL proceedings for the Track One-B have

                                         16
substantially advanced and are set for trial in November 2020.

      35.    Fourth, and finally, the federal issue also is capable of resolution in

federal court “without disrupting the federal-state balance approved by Congress.”

Gunn, 568 U.S. at 258. Federal courts exclusively hear challenges to DEA authority

to enforce the CSA against distributors, and litigating this case in a state court runs

the risk of the state court applying federal requirements inconsistently with the

manner in which the federal agency tasked with enforcing the CSA—the DEA—

applies them. Federal jurisdiction is therefore properly exercised under § 1331 to

resolve “disputed issues of federal law” under the CSA.

      36.    In sum, removal of this action is appropriate because Plaintiff’s “state-

law claim[s] necessarily raise a stated federal issue, actually disputed and

substantial, which a federal forum may entertain without disturbing any

congressionally approved balance of federal and state judicial responsibilities.”

Grable, 545 U.S. at 314; see also See Bd. of Commissioners, 850 F.3d at 722-23;

Hughes, 478 F. App’x at 170-71; Gilmore v. Weatherford, 694 F.3d 1160, 1176 (10th

Cir. 2012) (“Although plaintiffs could lose their conversion claim without the court

reaching the federal question, it seems that they cannot win unless the court

answers that question. Thus, plaintiffs’ ‘right to relief necessarily depends on

resolution of a substantial question of federal law.’” (quoting Nicodemus v. Union

Pac. Corp., 440 F.3d 1227, 1232 (10th Cir. 2006)).

      37.    To the extent that the Court determines that some, but not all, of

Plaintiff’s claims state a substantial federal question, the Court can evaluate

                                          17
whether to retain the non-federal claims against the Defendants under the doctrine

of supplemental jurisdiction, 28 U.S.C. § 1367(a).

         B. THIS ACTION IS REMOVABLE UNDER CAFA

         38.   Plaintiff’s lawsuit is also removable under CAFA because: (i) litigation

of this case in federal court promotes CAFA’s overall purpose; (ii) the lawsuit

essentially is a class action suit; and (iii) each of CAFA’s statutory requirements is

satisfied. Jurisdiction under CAFA is measured at the time of removal. 28 U.S.C.

§ 1332(d); Anthony v. Small Tube Mfg. Corp., 535 F. Supp. 2d 506, 512 (E.D. Pa.

2007).

         A.    This is an Interstate Case of National Importance.

         39.   First, this lawsuit is the type of case that Congress intended to be

litigated in federal court when it enacted CAFA. Congress’s overall purpose in

enacting CAFA was “to strongly favor the exercise of federal diversity jurisdiction

over class actions with interstate ramifications.” S. Rep. No. 109-14, at 35 (2005), as

reprinted in 2005 U.S.C.C.A.N. 3, 34; see Dart Cherokee Basin Operating Co. v.

Owens, 135 S. Ct. 547, 554 (2014) (“CAFA’s primary objective is to ensur[e] Federal

court consideration of interstate cases of national importance”) (citations and

quotations omitted); Kaufman v. Allstate New Jersey Ins. Co., 561 F.3d 144, 149 (3d

Cir. 2009).

         40.   This case is one of over a thousand cases filed across the country in

which     government    entities   have   sued   opioid   prescription   manufacturers,

distributors, and others for harms arising from the abuse of these drugs. The

                                           18
Opiate MDL alone has more than 2,600 individual cases that have become part of

a national narrative involving opioid misuse and diversion in Pennsylvania and

across the country. Plaintiff has scripted its Complaint from complaints in cases

that already are being litigated in the Opiate MDL. For example, Plaintiff asserts

that its claims touch upon issues of national importance, as well as duties under

federal law. See, e.g., Complaint ¶ 851 (citing report from the Food and Drug

Administration about how opioid abuse is has been recognized “as a ‘public health

crisis’ that has a ‘profound impact on individuals, families and communities across

our country’”); id. at ¶ 854 (“A 2016 Centers for Disease Control and Prevention

study estimated the national economic impact of prescription opioid overdoses, abuse

and dependence to be $78.5 billion dollars annually.”); id. at ¶ 976 (“As a direct and

proximate result of Defendants’ negligent, willful, wanton, and intentional acts . . .

there is now a national opioid epidemic that has caused enormous harm and injury

to the public.”); id. at ¶ 521 (“Defendants violated their obligations under federal

law.”).

          41.   As Plaintiff avers, the issues in this case implicate factual and legal

issues that span well beyond State lines, and as a result, should be litigated in

federal court along with the other lawsuits in the Opiate MDL for a more efficient

proceeding. Indeed, in denying remand in another p r e s c r i p t i o n opioid case, one

court observed the following:

                Here, where the opioid epidemic is pervasive and egregious,
                there is at least a possibility of prejudice to the defendants at
                the hands of a jury drawn exclusively from the very county that

                                            19
             is the plaintiff in this suit. A federal jury casts a wider net
             and is drawn from a division that comprises several counties.
             All may have an opioid problem, but not one that is specific to
             the plaintiff county.

City of Huntington v. AmerisourceBergen Drug Corp., et al., 3:17-01362, 2017 WL

3317300, at *2 (S.D. W. Va. Aug. 3, 2017).

      42.    Plaintiff, like the other plaintiffs in the Opiate MDL, has alleged

that the distributor Defendants failed to make reports to the DEA. See

Complaint ¶ 570 (“Defendants also worked together to ensure that . . . suspicious

orders were not reported to the DEA . . . .”). Accordingly, litigation of these cases

requires coordination with the DEA. The Honorable Judge Dan Aaron Polster of the

United States District Court for the Northern District of Ohio, presiding over the

Opiate MDL, has established protocols for the DEA to provide this information.

      43.    In short, jurisdiction in this matter is consistent with and promotes the

purpose of CAFA.

      B.     This Case Essentially Is a Class Action.

      44.    Second, CAFA applies here because this case essentially is a class

action. While Plaintiff has not alleged a putative class action on the face of its

Complaint, and has taken pains to contend that “[t]his action is non-removable,”

Complaint ¶ 30, in reality, this lawsuit is a “class action in all but name,” W. Va. Ex

rel. McGraw v. Comcast Corp., 705 F. Supp. 2d 441, 452 (E.D. Pa. 2010); see also

Freeman v. Blue Ridge Paper Prod., Inc., 551 F.3d 405, 407-08 (6th Cir. 2008)

(“CAFA was clearly designed to prevent plaintiffs from artificially structuring their



                                          20
suits to avoid federal jurisdiction.”); Mason v. Lockwood, Andrews & Newnam, P.C.,

842 F.3d 383 (6th Cir. 2016) (noting that the “guesswork here begins with even

defining the putative class, since the plaintiffs neglected to define it in their

putative class-action complaint” and looking to the complaint to determine

jurisdiction under CAFA). In this circuit and elsewhere, courts consistently

prioritize substance and function over form when characterizing the nature of a

dispute or claim . . . This is particularly true in the context of “class” or

“representative” proceedings. AT&T Mobility LLC v. Smith, No. 11-cv-5157, 2011

WL 5924460, at *5 (E.D. Pa., Oct. 6, 2011) (quoting Jarbough v. AG of the United

States, 483 F.3d 184, 189 (3d Cir. 2007)) (“‘We are not bound by the label attached

by a party to characterize a claim and will look beyond the label to analyze the

substance of a claim. To do otherwise would elevate form over substance and would

put a premium on artful labeling.’”).

      45.    CAFA provides that “district courts shall have original jurisdiction of

any civil action in which the matter in controversy exceeds the sum or value of

$5,000,000, exclusive of interests and costs, and is a class action in which . . . any

member of a class of plaintiffs is a citizen of a State different from any defendant.”

28 U.S.C. 1332(d)(2); see Standard Fire Ins. Co. v. Knowles, 133 S. Ct. 1345, 1348

(2013) (quoting 28 U.S.C § 1332(d)(2) and (d)(5)(B) and holding that jurisdiction

exists under CAFA “if the class has more than 100 members, the parties are

minimally diverse, and the ‘matter in controversy exceeds the sum or value of

$5,000,000.’”). CAFA “calls upon federal district court judges to look beyond the face

                                         21
of a complaint when determining whether federal jurisdiction exists over a matter

that appears to be a class action in all but name.” W. Va. ex rel. McGraw, 705 F.

Supp. 2d at 452 (holding defendant properly removed action brought by the State of

West Virginia against Comcast under CAFA because subscribers were the real

parties in interest).

       46.    CAFA defines a “class action” as “any civil action filed under rule 23 of

the Federal Rules of Civil Procedure or similar state statute or rule of judicial

procedure authorizing an action to be brought by 1 or more representative persons

as a class action.” 28 U.S.C. § 1332 (d)(1)(B); see W. Va. ex rel. McGraw, 705 F.

Supp. 2d at 452. Consistent with Congress’s overall objective in favoring federal

diversity jurisdiction over class actions with interstate ramifications, “the definition

of ‘class action’ is to be interpreted liberally. Its application should not be confined

solely to lawsuits that are labelled ‘class actions’ . . . . Generally speaking, lawsuits

that resemble a purported class action should be considered class actions for the

purpose of applying these provisions.” S. Rep. No. 109-14, at 35 (2005), as reprinted

in 2005 U.S.C.C.A.N. 3, 34. This is true even if an action does not seek class

certification. 28 U.S.C. § 1332 (d)(1)(D) (defining “class members” for purposes of

CAFA as “the persons (named or unnamed) who fall within the definition of the

proposed or certified class in a class action”). Courts construe complaints generously

in favor of jurisdiction and should not employ any presumption against

removability. See Dart Cherokee, 135 S. Ct. at 550 (“[N]o antiremoval presumption

attends cases invoking CAFA, a statute Congress enacted to facilitate adjudication

                                           22
of certain class actions in federal court.”).

       47.    Here, Bedford County purports to bring claims of its employees and

residents “as subrogee of its employees and residents . . . .” Complaint ¶ 33. But

counties cannot assert subrogation claims on behalf of residents. Rather, Plaintiff’s

contention confirms that it is seeking to act as a representative for a class of

residents who were allegedly harmed, either directly or indirectly, by the

Defendants’ purported misbranding of opioid drugs or other misconduct.

       48.    Plaintiff’s Pennsylvania Unfair Trade Practices and Consumer

Protection Law claim (first cause of action) is a prime example of the Plaintiff’s

representative status. Plaintiff’s Consumer Protection Law claim arises from the

Manufacturer and Distributor Defendants’ transactions with residents of Bedford

County. See, e.g., Complaint ¶ 940 (“All of this conduct, separately and collectively,

was intended to deceive Pennsylvania consumers who used and paid for opioids for

chronic pain . . . .”); id. at ¶ 935 (“Manufacturer Defendants . . . violated the

UTPCPL       by   making    and    disseminating   untrue,   false,   and   misleading

statements . . . to Pennsylvania and County prescribers and consumers . . . .”).

       49.    Elsewhere, Plaintiff emphasizes that Defendants have inflicted both

economic and non-economic injuries on its residents. See, e.g., Complaint ¶ 202

(“Each Manufacturer Defendant’s conduct, and each misrepresentation, contributed

to an overall narrative that aimed to—and did—mislead doctors, patients, and

payors about the risks and benefits of opioids.”); id. at ¶ 463 (“The Manufacturer

Defendants created a body of false, misleading, and unsupported medical and

                                            23
popular literature about opioids that . . . was likely to shape the perceptions of

prescribers, patients, and payors.”); id. at ¶ 864 (Manufacturer Defendants’ false

propositions were designed to “mislead physicians, patients, health care providers,

and health care payors”); id. at ¶ 940 (Manufacturer Defendants’ conduct was

“intended to deceive Pennsylvania consumers who used or paid for opioids for

chronic pain; Pennsylvania physicians who prescribed opioids to consumers to treat

chronic pain; and Pennsylvania payors, including the County, who purchased, or

covered the purchase of, opioids for chronic pain”); id. at ¶ 945 (Defendants have

“engaged in conduct or omissions which unreasonably interferes with the public

health, safety, peace, comfort, convenience, or quality of life”).

      50.    Plaintiff’s alleged injuries derive only as a result of its residents’

alleged injuries and thus cannot be separated from the injuries that it alleges its

residents have incurred. Plaintiff seeks to recover costs in providing law

enforcement, medical, and social services for opioid addiction, emergencies, and

overdose deaths, Compl. ¶ 974, all of which stem only from its residents’ opioid

abuse and addiction.

      51.    Plaintiff’s Complaint also satisfies CAFA’s 100-member requirement

because the putative class consists of thousands of residents and at least hundreds

injured. See 28 U.S.C. § 1332(d)(5)(B). Here, Plaintiff alleges that the Defendants’

deceptive practices have caused the opioid epidemic and, in 2016, the overdose rate

in Bedford County was “22.11 deaths per 100,000 residents . . . .” Complaint ¶ 860.

Plaintiff further alleges that the “fatal drug overdose rate has increased in Bedford

                                           24
County as much as approximately 130% between 1999 and 2016.” Id. Thus, the

potential number of people who have been or may be affected well exceeds the 100

member requirement under CAFA.



      C.     Minimal diversity exists between Plaintiffs and Defendants
             under CAFA.

      52.    There is minimal diversity between Plaintiff and Defendants. District

courts have original jurisdiction under CAFA of “any civil action in which the

controversy exceeds the sum or value of $5,000,000, exclusive of interests and costs,

and is a class action in which . . . any member of a class of plaintiffs is a citizen of a

State different from any defendant.” 28 U.S.C. § 1332(d)(2). CAFA thus eliminates

the requirement of complete diversity. Instead, CAFA requires only minimal

diversity—meaning that the parties are diverse if the plaintiff’s citizenship differs

from that of at least one defendant. 28 U.S.C. § 1332(d)(2)(A).

      53.    For purposes of diversity jurisdiction, a political subdivision is a citizen

of the State. See Moor v. Alameda Cty., 411 U.S. 693, 717 (1973) (“[A] political

subdivision of a State . . . is a citizen of the State for diversity purposes.”). A

corporation is “a citizen of every State and foreign state by which it has been

incorporated and of the State or foreign state where it has its principal place of

business.” 28 U.S.C. § 1332(c)(1). For purposes of CAFA, the citizenship of any

unincorporated association, such as limited partnerships and limited liability

companies, also is determined by the entity’s State of incorporation and principal


                                           25
place of business. 28 U.S.C. § 1332(d)(10).

      54.    Applying these principles, there is minimal diversity between the

parties. Plaintiff is a political subdivision of Pennsylvania, and the putative class

members are also residents of Pennsylvania. And many of the Defendants are

citizens of States other than Pennsylvania. For example:

             a. Defendants Purdue Pharma Inc. and The Purdue Frederick
                Company, Inc. are New York corporations with headquarters and a
                principal place of business in Connecticut. They are, accordingly,
                citizens of New York and Connecticut.

             b. Defendant Johnson & Johnson is a New Jersey corporation with its
                principal place of business in New Jersey. Accordingly, it is a New
                Jersey citizen.

             c. Defendant Watson Laboratories, Inc. is a Nevada corporation with
                its headquarters in Parsippany, New Jersey. Accordingly, it is a
                citizen on Nevada and New Jersey.

             d. Defendant Cardinal Health Inc. is an Ohio Corporation with its
                headquarters in Ohio. Accordingly, it is a citizen of Ohio.

             e. Defendant Richard Sackler is a resident, and thus citizen, of
                Florida.

             f. Defendants Kathe Sackler, Jonathan Sackler, and Beverly Sackler
                are residents, and thus citizens, of Connecticut.

             g. Defendants Mortimer Sackler, David Sackler, and Ilene Sackler
                Lefcourt are residents, and thus citizens, of New York.

      55.     Because there is diversity of citizenship between Plaintiff and at least

one Defendant, this action meets the minimal diversity requirement under Section

1332(d)(2)(A).

      D.     The Amount in Controversy Exceeds the Jurisdictional Limit.


                                          26
       56.   The amount in controversy exceeds CAFA’s jurisdictional threshold.

Although Plaintiff alleges no specific amount of damages, “a defendant’s notice of

removal need include only a plausible allegation that the amount in controversy

exceeds the jurisdictional threshold.” Dart Cherokee, 135 S. Ct. at 554. In

ascertaining the amount in controversy, “the claims of the individual class

members shall be aggregated.” 28 U.S.C. § 1332(d)(6).

       57.   Here, Plaintiff alleges a number of different injuries from opioid abuse

and addiction. Plaintiff alleges that opioid abuse has impacted a substantial

portion of their 48,480 residents at least since 2006, but potentially as far back as

the late 1990s. E.g., Complaint ¶¶ 3-4, 32, . Given the extent of the alleged injuries

and time period, the alleged amount in controversy easily exceeds $5 million.7

III.           ALL PROCEDURAL REQUIREMENTS ARE MET.

       58.   CVS has satisfied all the procedural requirements for removal under

28 U.S.C. § 1446.

       59.   CVS is filing this Notice of Removal pursuant to 28 U.S.C. § 1441(a) in

the United States District Court for the Eastern District of Pennsylvania, because

the State court in which the action is pending, the Court of Common Pleas for

Delaware County, is within this federal judicial district. This Notice is signed

pursuant to Rule 11 of the Federal Rules of Civil Procedure.


   7 The amount in controversy represents only what Plaintiff requests at this stage of
the proceeding. This is not an admission that Plaintiff is entitled to recover this amount.
See Hartis v. Chi. Title Ins. Co., 694 F.3d 935, 945 (8th Cir. 2012) (“The removing party
need not confess liability in order to show that the controversy exceeds the threshold.”)
(internal citations and quotes omitted).

                                            27
       60.    CVS has not yet been served in this action; therefore this removal is

timely under 28 U.S.C. § 1446(b). See Murphy Bros., Inc. v. Michetti Pipe Stringing,

Inc., 526 U.S. 344, 354-56 (1999).

       61.    In accordance with 28 U.S.C. § 1446(a), a copy of “all process,

pleadings, orders, and other documents then on file in the State Court,” are

attached as Exhibit 2.

       62.    In accordance with 28 U.S.C. § 1446(d), promptly after filing this

Notice, CVS will “give written notice thereof to all adverse parties,” and will “file a

copy of the notice with the clerk” of the Court of Common Pleas. A true and

correct copy of the Notice to Plaintiff and Notice to the State Court of Filing of

Notice of Removal will be filed as separate documents.

       63.    Under CAFA, “[a] class action may be removed . . . by any defendant

without the consent of all defendants.” 28 U.S.C. § 1453(b) (emphasis added).

       64.    In accordance with 28 U.S.C. § 1446(b)(2)(A), and as set forth in

Exhibit 3, all defendants that are not subject to a bankruptcy stay or injunction

and that have been properly joined and served8 in this action join in or consent to

this removal on the basis of federal question jurisdiction.9


   8
     Parties that have not been properly served or properly joined nevertheless consent to
the removal in an abundance of caution.
   9
      On September 15, 2019, Purdue Pharma L.P. and its affiliated debtors, including
Rhodes Technologies and its affiliates, filed voluntary petitions for relief under chapter 11
of United States Bankruptcy Code in the United States Bankruptcy Court for the Southern
District of New York. Purdue Pharma L.P.’s case is docketed as In re Purdue Pharma L.P.,
No. 19-23649. Also on September 18, 2019, Purdue Pharma L.P. and its affiliated debtors
filed a motion for preliminary injunction seeking an order staying certain active cases to the

                                             28
     T: (215) 564-8000
     E: mvillanueva@stradley.com

      – and –

     Conor B. O’Croinin, Esquire
     (national counsel; Atty I.D. No.
     200149)
     ZUCKERMAN SPAEDER LLP
     100 East Pratt Street, Suite 2440
     Baltimore, Maryland 21202
     T: (410) 949-1160
     E: cocroinin@zuckerman.com

     Counsel for CVS Health Corporation




30


                                   4482316v.1
EXHIBIT 1
            Case: 1:17-md-02804-DAP Doc #: 1 Filed: 12/12/17 1 of 8. PageID #: 1



                                 UNITED STATES JUDICIAL PANEL
                                              on
                                   MULTIDISTRICT LITIGATION


IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION                                                                            MDL No. 2804


                                           TRANSFER ORDER


        Before the Panel:* Plaintiffs in 46 actions move under 28 U.S.C. § 1407 to centralize pretrial
proceedings in the Southern District of Ohio or the Southern District of Illinois, but plaintiffs do not
oppose centralization in the Southern District of West Virginia. These cases concern the alleged improper
marketing of and inappropriate distribution of various prescription opiate medications into cities, states
and towns across the country. Plaintiffs’ motion includes the 64 actions listed on Schedule A,1 which are
pending in nine districts. Since plaintiffs filed this motion, the parties have notified the Panel of 115
potentially related actions.2

        Responding plaintiffs’ positions on centralization vary considerably. Plaintiffs in over 40 actions
or potential tag-along actions support centralization. Plaintiffs in fifteen actions or potential tag-along
actions oppose centralization altogether or oppose transfer of their action. In addition to opposing transfer,
the State of West Virginia suggests that we delay transferring its case until the Southern District of West
Virginia court decides its motion to remand to state court. Third party payor plaintiffs in an Eastern
District of Pennsylvania potential tag-along action (Philadelphia Teachers Health and Welfare Fund)
oppose centralization of third party payor actions. Western District of Washington plaintiff City of Everett
opposes centralization and, alternatively, requests exclusion of its case. Northern District of Illinois tag-
along plaintiff City of Chicago asks the Panel to defer transfer of its action until document discovery is
completed.

       Defendants’ positions on centralization also vary considerably. The “Big Three” distributor
defendants,3 which reportedly distribute over 80% of the drugs at issue and are defendants in most cases,


   *
       Judges Lewis A. Kaplan and Ellen Segal Huvelle did not participate in the decision of this matter.
   1
     Two actions included on plaintiffs’ motion to centralize were remanded to state court during the
   pendency of the motion.
   2
     These actions, and any other related actions, are potential tag-along actions. See Panel Rules
   1.1(h), 7.1 and 7.2.
   3
     AmerisourceBergen Drug Corp., AmerisourceBergen Corp., McKesson Corp., Cardinal Health
   110, LLC, Cardinal Health, Inc., Cardinal Health 105, Inc., Cardinal Health 108, LLC, Cardinal
   Health 112, LLC, Cardinal Health 414, LLC, and Cardinal Health subsidiary The Harvard Drug
           Case: 1:17-md-02804-DAP Doc #: 1 Filed: 12/12/17 2 of 8. PageID #: 2



                                                     -2-

support centralization in the Southern District of West Virginia. These defendants request that the Panel
either delay issuing its transfer order or delay transfer of their cases until their motions to dismiss are
decided. Defendant distributor Miami-Luken also supports centralization in the Southern District of West
Virginia. Multiple manufacturer defendants4 support centralization in the Southern District of New York
or the Northern District of Illinois; defendant Malinckrodt, LLC, takes no position on centralization but
supports the same districts. Teva defendants5 suggest centralization in the Eastern District of Pennsylvania
or the manufacturers’ preferred districts. Physician defendants6 in three Ohio actions, who are alleged to
be “key opinion leaders” paid by manufacturing defendants, do not oppose centralization in the Southern
District of Ohio.

        Defendants in several Southern District of West Virginia cases oppose centralization. These
defendants include several smaller distributor defendants or “closed” distributors that supply only their
own stores.7 Many of these defendants specifically request exclusion of the claims against them from the
MDL. Also, manufacturer Pfizer, Inc., opposes centralization and requests that we exclude any claims
against it from this MDL.8

        The responding parties suggest a wide range of potential transferee districts, including: the Southern
District of West Virginia, the Southern District of Illinois, the Northern District of Illinois, the Eastern
District of Missouri (in a brief submitted after the Panel’s hearing), the District of New Jersey, the


   Group, L.L.C.
   4
      Actavis LLC, Actavis Pharma, Inc., Allergan PLC, Allergan Finance, LLC, Allergan plc f/k/a
   Actavis plc, Actavis Pharma Inc. f/k/a Watson Pharma Inc., Watson Pharmaceuticals, Inc. n/k/a
   Actavis, Inc., and Allergan PLC f/k/a Actavis PLS, Cephalon, Inc., Endo Health Solutions, Inc.,
   Endo Pharmaceuticals, Inc., Janssen Pharmaceutica Inc., Johnson & Johnson, Ortho-McNeil-Janssen
   Pharmaceuticals, Inc., Purdue Frederick Company Inc., Purdue Pharma Inc., Purdue Pharma L.P.,
   Teva Pharmaceuticals Industries Ltd., Teva Pharmaceuticals USA, Inc., Watson Laboratories, Inc.,
   Watson Pharmaceuticals, Inc., Janssen Pharmaceutica Inc. n/k/a Janssen Pharmaceuticals, Inc.
   5
     Teva Pharmaceutical Industries, Ltd., Teva Pharmaceuticals U.S.A, Inc., Cephalon, Inc., Watson
   Laboratories, Inc., Actavis LLC, and Actavis Pharma, Inc.
   6
       Scott Fishman, M.D., Perry Fine, M.D., Lynn Webster, M.D., and Russell Portenoy, M.D.
   7
     JM Smith Corp.; CVS Indiana, LLC and Omnicare Distribution Center, LLC; TopRx; Kroger
   Limited Partnership I, Kroger Limited Partnership II, SAJ Distributors (a Walgreens distributor for
   two months in 2012), Walgreen Eastern Co., Inc., and Rite Aid of Maryland, Inc.; Masters
   Pharmaceuticals and KeySource Medical; WalMart Stores East, LP.
   8
     Pfizer specifically requests that we exclude any potential future claims against it because of its
   minimal involvement in the opioid market. At oral argument, counsel stated that Pfizer was not
   named as a defendant in any pending case. In the absence of a case before us, the Panel will not
   address Pfizer’s argument.
           Case: 1:17-md-02804-DAP Doc #: 1 Filed: 12/12/17 3 of 8. PageID #: 3



                                                     -3-

Southern District of New York, the Southern District of Ohio, the Northern District of Ohio, the Eastern
District of Pennsylvania, the Eastern District of Texas, the Western District of Washington and the Eastern
District of Wisconsin.

        After considering the argument of counsel, we find that the actions in this litigation involve
common questions of fact, and that centralization in the Northern District of Ohio will serve the
convenience of the parties and witnesses and promote the just and efficient conduct of the litigation.
Plaintiffs in the actions before us are cities, counties and states that allege that: (1) manufacturers of
prescription opioid medications overstated the benefits and downplayed the risks of the use of their opioids
and aggressively marketed (directly and through key opinion leaders) these drugs to physicians, and/or (2)
distributors failed to monitor, detect, investigate, refuse and report suspicious orders of prescription
opiates. All actions involve common factual questions about, inter alia, the manufacturing and distributor
defendants’ knowledge of and conduct regarding the alleged diversion of these prescription opiates, as well
as the manufacturers’ alleged improper marketing of such drugs. Both manufacturers and distributors are
under an obligation under the Controlled Substances Act and similar state laws to prevent diversion of
opiates and other controlled substances into illicit channels. Plaintiffs assert that defendants have failed
to adhere to those standards, which caused the diversion of opiates into their communities. Plaintiffs
variously bring claims for violation of RICO statutes, consumer protection laws, state analogues to the
Controlled Substances Act, as well as common law claims such as public nuisance, negligence, negligent
misrepresentation, fraud and unjust enrichment.

         The parties opposing transfer stress the uniqueness of the claims they bring (or the claims that are
brought against them), and they argue that centralization of so many diverse claims against manufacturers
and distributors will lead to inefficiencies that could slow the progress of all cases. While we appreciate
these arguments, we are not persuaded by them. All of the actions can be expected to implicate common
fact questions as to the allegedly improper marketing and widespread diversion of prescription opiates into
states, counties and cities across the nation, and discovery likely will be voluminous. Although
individualized factual issues may arise in each action, such issues do not – especially at this early stage of
litigation – negate the efficiencies to be gained by centralization. The transferee judge might find it useful,
for example, to establish different tracks for the different types of parties or claims. The alternative of
allowing the various cases to proceed independently across myriad districts raises a significant risk of
inconsistent rulings and inefficient pretrial proceedings. In our opinion, centralization will substantially
reduce the risk of duplicative discovery, minimize the possibility of inconsistent pretrial obligations, and
prevent conflicting rulings on pretrial motions. Centralization will also allow a single transferee judge to
coordinate with numerous cases pending in state courts. Finally, we deny the requests to delay transfer
pending rulings on various pretrial motions (e.g., motions to dismiss or to remand to state court) or until
the completion of document discovery in City of Chicago.

       Although all of the cases on the motion before us involve claims brought by political subdivisions,
we have been notified of potential tag-along actions brought by individuals, consumers, hospitals and third
party payors. As reflected in our questions at oral argument, this litigation might evolve to include
           Case: 1:17-md-02804-DAP Doc #: 1 Filed: 12/12/17 4 of 8. PageID #: 4



                                                     -4-

additional categories of plaintiffs and defendants, as well as different types of claims. We will address
whether to include specific actions or claims through the conditional transfer order process.9

        As this litigation progresses, it may become apparent that certain types of actions or claims could
be more efficiently handled in the actions’ respective transferor courts. Should the transferee judge deem
remand of any claims or actions appropriate (or, relatedly, the subsequent exclusion of similar types of
claims or actions from the centralized proceedings), then he may accomplish this by filing a suggestion of
remand to the Panel. See Panel Rule 10.1. As always, we trust such matters to the sound judgment of the
transferee judge.

         Most parties acknowledge that any number of the proposed transferee districts would be suitable
for this litigation that is nationwide in scope. We are persuaded that the Northern District of Ohio is the
appropriate transferee district for this litigation. Ohio has a strong factual connection to this litigation,
given that it has experienced a significant rise in the number of opioid-related overdoses in the past several
years and expended significant sums in dealing with the effects of the opioid epidemic. The Northern
District of Ohio presents a geographically central and accessible forum that is relatively close to
defendants’ various headquarters in New York, Connecticut, New Jersey and Pennsylvania. Indeed, one
of the Big Three distributor defendants, Cardinal Health, is based in Ohio. Judge Dan A. Polster is an
experienced transferee judge who presides over several opiate cases. Judge Polster’s previous MDL
experience, particularly MDL No. 1909 – In re: Gadolinium Contrast Dyes Products Liability Litigation,
which involved several hundred cases, has provided him valuable insight into the management of complex,
multidistrict litigation. We have no doubt that Judge Polster will steer this litigation on a prudent course.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside of the
Northern District of Ohio are transferred to the Northern District of Ohio and, with the consent of that
court, assigned to the Honorable Dan A. Polster for coordinated or consolidated pretrial proceedings.


                                        PANEL ON MULTIDISTRICT LITIGATION




                                                           Sarah S. Vance
                                                                Chair

                                       Charles R. Breyer               Marjorie O. Rendell
                                       R. David Proctor                Catherine D. Perry



   9
    Eastern District of Pennsylvania Philadelphia Teachers Health and Welfare Fund third party payor
   plaintiff opposed centralization of such claims, stating that it intends to file a motion for
   centralization of third party payor claims. We will address that motion, if it is filed, in due course.
       Case: 1:17-md-02804-DAP Doc #: 1 Filed: 12/12/17 5 of 8. PageID #: 5



IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION                                                      MDL No. 2804


                                          SCHEDULE A


          Northern District of Alabama

     CITY OF BIRMINGHAM v. AMERISOURCEBERGEN DRUG CORPORATION, ET AL.,
           C.A. No. 2:17-01360

          Eastern District of California

     COUNTY OF SAN JOAQUIN, ET AL. v. PURDUE PHARMA, L.P., ET AL.,
         C.A. No. 2:17-01485

          Southern District of Illinois

     PEOPLE OF THE STATE OF ILLINOIS, ET AL. v. PURDUE PHARMA LP, ET AL.,
          C.A. No. 3:17-00616
     PEOPLE OF THE STATE OF ILLINOIS, ET AL. v. AMERISOURCEBERGEN
          DRUG CORPORATION, ET AL., C.A. No. 3:17-00856
     PEOPLE OF STATE OF ILLINOIS, ET AL. v. AMERISOURCEBERGEN DRUG
          CORPORATION, ET AL., C.A. No. 3:17-00876

          Eastern District of Kentucky

     BOONE COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
          CORPORATION, ET AL., C.A. No. 2:17-00157
     PENDLETON COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
          CORPORATION, ET AL., C.A. No. 2:17-00161
     CAMPBELL COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
          CORPORATION, ET AL., C.A. No. 2:17-00167
     ANDERSON COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
          CORPORATION, ET AL., C.A. No. 3:17-00070
     FRANKLIN COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
          CORPORATION, ET AL., C.A. No. 3:17-00071
     SHELBY COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
          CORPORATION, ET AL., C.A. No. 3:17-00072
     HENRY COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
          CORPORATION, ET AL., C.A. No. 3:17-00073
     BOYLE COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
          CORPORATION, ET AL., C.A. No. 5:17-00367
     FLEMING COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
          CORPORATION, ET AL., C.A. No. 5:17-00368
  Case: 1:17-md-02804-DAP Doc #: 1 Filed: 12/12/17 6 of 8. PageID #: 6



                                        - A2 -

      Eastern District of Kentucky (cont.)

GARRARD COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 5:17-00369
LINCOLN COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 5:17-00370
MADISON COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 5:17-00371
NICHOLAS COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 5:17-00373
BELL COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 6:17-00246
HARLAN COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 6:17-00247
KNOX COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 6:17-00248
LESLIE COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 6:17-00249
WHITLEY COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 6:17-00250
CLAY COUNTY FISCAL COURT v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 6:17-00255

      Western District of Kentucky

THE FISCAL COURT OF CUMBERLAND COUNTY v. AMERISOURCEBERGEN
      DRUG CORPORATION, ET AL., C.A. No. 1:17-00163
LOUISVILLE/JEFFERSON COUNTY METRO GOVERNMENT v.
      AMERISOURCEBERGEN DRUG CORPORATION, ET AL., C.A. No. 3:17-00508
THE FISCAL COURT OF SPENCER COUNTY v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 3:17-00557
THE FISCAL COURT OF UNION COUNTY v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 4:17-00120
THE FISCAL COURT OF CARLISLE COUNTY v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 5:17-00136

      Northern District of Ohio

CITY OF LORAIN v. PURDUE PHARMA L.P., ET AL., C.A. No. 1:17-01639
CITY OF PARMA v. PURDUE PHARMA L.P., ET AL., C.A. No. 1:17-01872
  Case: 1:17-md-02804-DAP Doc #: 1 Filed: 12/12/17 7 of 8. PageID #: 7



                                       - A3 -


      Southern District of Ohio

CLERMONT COUNTY BOARD OF COUNTY COMMISSIONERS v.
      AMERISOURCEBERGEN DRUG CORPORATION, ET AL., C.A. No. 2:17-00662
BELMONT COUNTY BOARD OF COUNTY COMMISSIONERS v.
      AMERISOURCEBERGEN DRUG CORPORATION, ET AL., C.A. No. 2:17-00663
BROWN COUNTY BOARD OF COUNTY COMMISSIONERS v. AMERISOURCEBERGEN
      DRUG CORPORATION, ET AL., C.A. No. 2:17-00664
VINTON COUNTY BOARD OF COUNTY COMMISSIONERS v. AMERISOURCEBERGEN
      CORPORATION, ET AL., C.A. No. 2:17-00665
JACKSON COUNTY BOARD OF COUNTY COMMISSIONERS v. AMERISOURCEBERGEN
      DRUG CORPORATION, ET AL., C.A. No. 2:17-00680
SCIOTO COUNTY BOARD OF COUNTY COMMISSIONERS v. AMERISOURCEBERGEN
      DRUG CORPORATION, ET AL., C.A. No. 2:17-00682
PIKE COUNTY BOARD OF COUNTY COMMISSIONERS v. AMERISOURCEBERGEN
      DRUG CORPORATION, ET AL., C.A. No. 2:17-00696
ROSS COUNTY BOARD OF COUNTY COMMISSIONERS v. AMERISOURCEBERGEN
      DRUG CORPORATION, ET AL., C.A. No. 2:17-00704
CITY OF CINCINNATI v. AMERISOURCEBERGEN DRUG CORPORATION, ET AL.,
      C.A. No. 2:17-00713
CITY OF PORTSMOUTH v. AMERISOURCEBERGEN DRUG CORPORATION, ET AL.,
      C.A. No. 2:17-00723
GALLIA COUNTY BOARD OF COMMISSIONERS v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 2:17-00768
HOCKING COUNTY BOARD OF COMMISSIONERS v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 2:17-00769
LAWRENCE COUNTY BOARD OF COMMISSIONERS v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 2:17-00770
DAYTON v. PURDUE PHARMA LP, ET AL., C.A. No. 3:17-00229

      Western District of Washington

CITY OF EVERETT v. PURDUE PHARMA LP, ET AL., C.A. No. 2:17-00209
CITY OF TACOMA v. PURDUE PHARMA, L.P., ET AL., C.A. No. 3:17-05737

      Southern District of West Virginia

THE COUNTY COMMISSION OF MCDOWELL COUNTY v. MCKESSON CORPORATION,
     ET AL., C.A. No. 1:17-00946
HONAKER v. WEST VIRGINIA BOARD OF PHARMACY, ET AL., C.A. No. 1:17-03364
THE COUNTY COMMISSION OF MERCER COUNTY v. WEST VIRGINIA BOARD OF
     PHARMACY, C.A. No. 1:17-03716
  Case: 1:17-md-02804-DAP Doc #: 1 Filed: 12/12/17 8 of 8. PageID #: 8



                                       - A4 -

     Southern District of West Virginia (cont.)

      KANAWHA COUNTY COMMISSION v. RITE AID OF MARYLAND, INC., ET AL.,
      C.A. No. 2:17-01666
FAYETTE COUNTY COMMISSION v. CARDINAL HEALTH, INC., ET AL.,
      C.A. No. 2:17-01957
BOONE COUNTY COMMISSION v. AMERISOURCEBERGEN DRUG CORPORATION,
      ET AL., C.A. No. 2:17-02028
LOGAN COUNTY COMMISSION v. CARDINAL HEALTH, INC., ET AL.,
      C.A. No. 2:17-02296
THE COUNTY COMMISSION OF LINCOLN COUNTY v. WEST VIRGINIA BOARD OF
      PHARMACY, ET AL., C.A. No. 2:17-03366
LIVINGGOOD v. WEST VIRGINIA BOARD OF PHARMACY, ET AL., C.A. No. 2:17-03369
SPARKS v. WEST VIRGINIA BOARD OF PHARMACY, C.A. No. 2:17-03372
CARLTON, ET AL. v. WEST VIRGINIA BOARD OF PHARMACY, ET AL.,
      C.A. No. 2:17-03532
STATE OF WEST VIRGINIA, ET AL. v. MCKESSON CORPORATION, C.A. No. 2:17-03555
BARKER v. WEST VIRGINIA BOARD OF PHARMACY, ET AL., C.A. No. 2:17-03715
THE CITY OF HUNTINGTON v. AMERISOURCEBERGEN DRUG CORPORATION, ET AL.,
      C.A. No. 3:17-01362
CABELL COUNTY COMMISSION v. AMERISOURCEBERGEN DRUG CORPORATION, ET
      AL., C.A. No. 3:17-01665
WAYNE COUNTY COMMISSION v. RITE AID OF MARYLAND, INC., ET AL.,
      C.A. No. 3:17-01962
WYOMING COUNTY COMMISSION v. AMERISOURCEBERGEN DRUG
      CORPORATION, ET AL., C.A. No. 5:17-02311
EXHIBIT 2
10202303102020                Bedford County Prothonotary                          Page     1
     PYSPRT                       Civil Case Detail Report                          3/10/2020
Case No........... 2020-00180    BEDFORD COUNTY (vs) PURDUE PHARMA L P ETAL
Reference No......                                               Filed..........    2/11/2020
Case Type......... TORT - PRODUCT LIABILI                        Time...........         1:38
Judgment..........               $.00                            Execution Date.    0/00/0000
Judge Assigned.... LIVENGOOD TRAVIS W                            Jury Trial.....
Disposed Desc.....                                               Disposed Date..    0/00/0000
------------ Case Comments ------------                          Higher Crt 1...
                                                                 Higher Crt 2...

******************************************************************************************
                                    ++ GENERAL INDEX ++
Indexed Party                                             Attorney Info
BEDFORD COUNTY                       PLAINTIFF            CAPPELLI JOSEPH
  BEDFORD, PA 15522                                         101 WEST ELM STREET SUITE 215
                                                            CONSHOLHOCKEN, PA 19428
                                                          SCATTON BARRY J
                                                            101 WEST ELM STREET SUITE 215
                                                            CONSHOHOCKEN, PA 19428
PURDUE PHARMA L P                      DEFENDANT
  STAMFORD, CT 06901
PURDUE PHARMA INC                      DEFENDANT
  STAMFORD, CT 06901
THE PURDUE FREDERICK COMPANY           DEFENDANT
INC
  STAMFORD, CT 06901
TEVA PHARMACUETICALS USA INC           DEFENDANT
  NORTH WALES, PA 19454
CEPHALON INC                           DEFENDANT
  NORTH WALES, PA 19454
JOHNSON & JOHNSON                      DEFENDANT
  NEW BRUNSWICK, NJ 08933
JANSSEN PHARMACEUTICALS INC            DEFENDANT
  TITUSVILLE, NJ 08560-0200
NORAMCO INC                            DEFENDANT
  WILMINGTON, DE 19801
ORTHO-MCNEIL-JANSSEN                   DEFENDANT
PHARMACEUTICALS INC N/K/A
  TITUSVILLE, NJ 08560-0200
JANSSEN PHARMACEUTICALS INC            DEFENDANT
  TITUSVILLE, NJ 08560-0200
JANSSEN PHARMACEUTICA INC              DEFENDANT
N/K/A
  TITUSVILLE, NJ 08560-0200
JANSSEN PHARMACEUTICALS INC            DEFENDANT
  TITUSVILLE, NJ 08560-0200
ENDO HEALTH SOLUTIONS INC              DEFENDANT
  MALVERN, PA 19355
ENDO PHARMACEUTICALS INC               DEFENDANT
  MALVERN, PA 19355
MCKESSON CORPORATION                   DEFENDANT
  SAN FRANCISCO, CA 94104
CARDINAL HEALTH INC                    DEFENDANT             RASPANTI MARC
  DUBLIN, OH 43017                                             1818 MARKET ST SUITE 3402
                                                               PHILADELPHIA, PA 19103
                                                             ROSENBLUM DOUGLAS
                                                               1818 MARKET ST SUITE 3402
                                                               PHILADELPHIA, PA 19103
10202303102020               Bedford County Prothonotary                          Page     2
     PYSPRT                      Civil Case Detail Report                          3/10/2020
Case No........... 2020-00180    BEDFORD COUNTY (vs) PURDUE PHARMA L P ETAL
Reference No......                                              Filed..........   2/11/2020
Case Type......... TORT - PRODUCT LIABILI                       Time...........        1:38
Judgment..........               $.00                           Execution Date.   0/00/0000
Judge Assigned.... LIVENGOOD TRAVIS W                           Jury Trial.....
Disposed Desc.....                                              Disposed Date..   0/00/0000
------------ Case Comments ------------                         Higher Crt 1...
                                                                Higher Crt 2...
SACKLER RICHARD S                     DEFENDANT
  AUSTIN, TX 78746-3216
SACKLER JONATHAN D                    DEFENDANT
  STAMFORD, CT 06901-3435
SACKLER MORTIMER D A                  DEFENDANT
  NEW YORK, NY 10021-2609
SACKLER KATHE A                       DEFENDANT
  WESTON, CT 06833-2600
LEFCOURT ILENE SACKLER                DEFENDANT
  NEW YORK, NY 10023-7092
SACKLER VEVERLY                       DEFENDANT
  GREENWICH, CT 06830-7011
SACKLER THERESA                       DEFENDANT
  NEW YORK, NY 10075-0126
SACKLER DAVID A                       DEFENDANT
  NEW YORK, NY 10065-9175
RHODES TECHNOLOGIES                   DEFENDANT
  WARWICK, RI 02888
RHODES TECHNOLOGIES INC               DEFENDANT
  WARWICK, RI 02888
RHODES PHARMACEUTICALS L P            DEFENDANT
  WARWICK, RI 02888
RHODES PHARMACEUTICALS INC            DEFENDANT
  WARWICK, RI 02888
TRUST FOR THE BENEFIT OF              DEFENDANT
MEMBERS OF THE RAYMOND SACKLER
  AUSTIN, TX 78746-3216
THE P F LABORATORIES INC              DEFENDANT
  TOTOWA, NJ 07512
BAKER STUART D                        DEFENDANT
  NEW YORK, NY 10022
ALLERGAN PLC                          DEFENDANT
F/K/A
  WILMINGTON, DE 19801
ACTAVIS PLC                           DEFENDANT
  WILMINGTON, DE 19801
WATSON PHARMACEUTICALS INC            DEFENDANT
N/K/A
  WILMINGTON, DE 19810
ACTAVIS INC                           DEFENDANT
  WILMINGTON, DE 19810
WATSON LABORATORIES INC               DEFENDANT
  WILMINGTON, DE 19810
ACTAVIS LLC                           DEFENDANT
  WILMINGTON, DE 19810
10202303102020                Bedford County Prothonotary                         Page     3
     PYSPRT                       Civil Case Detail Report                         3/10/2020
Case No........... 2020-00180    BEDFORD COUNTY (vs) PURDUE PHARMA L P ETAL
Reference No......                                              Filed..........   2/11/2020
Case Type......... TORT - PRODUCT LIABILI                       Time...........        1:38
Judgment..........               $.00                           Execution Date.   0/00/0000
Judge Assigned.... LIVENGOOD TRAVIS W                           Jury Trial.....
Disposed Desc.....                                              Disposed Date..   0/00/0000
------------ Case Comments ------------                         Higher Crt 1...
                                                                Higher Crt 2...
ACTAVIS PHARMA INC                     DEFENDANT
F/K/A
  WILMINGTON, DE 19810
WATSON PHARMA INC                      DEFENDANT
  WILMINGTON, DE 19810
PAR PHARMACEUTICAL INC                 DEFENDANT
  CHESTNUT RIDGE, NY 10977
PAR PHARMACEUTICALS COMPANIES          DEFENDANT
INC
  CHESTNUT RIDGE, NY 10977
MALLINCKRODT PLC                       DEFENDANT
  CLAYTON, MO 63105
MALLINCKRODT LLC                       DEFENDANT
  CLAYTON, MO 63105
SPECGX LLC                             DEFENDANT
  PLANTATION, FL 33324
ANDA INC                               DEFENDANT
  PALM BEACH GARDENS, FL 33410
CVS HEALTH CORPORATION                 DEFENDANT
  WOONSOCKET, PI 02895
RITE AID OF MARYLAND INC               DEFENDANT
DBA
  WILMINGTON, DE 19801
RITE AID MID-ATLANTIC CUSTOMER         DEFENDANT
SUPPORT CENTER INC
  WILMINGTON, DE 19801
RITE AID CORPORATION                   DEFENDANT
  WILMINGTON, DE 19801
WAL-MART INC                           DEFENDANT
  WILMINGTON, DE 19801
INSYS THERAPEUTICS INC                 DEFENDANT
  WILMINGTON, DE 19801
AMNEAL PHARMACEUTICALS LLC             DEFENDANT
  WILMINGTON, DE 19801
ECKERD CORPORATION                     DEFENDANT
  WILMINGTON, DE 19801
ROCHESTER DRUG CO-OPERATIVE            DEFENDANT
INC
  ROCHESTER, NY 14624
VALUE DRUG                             DEFENDANT
  DUNCANSVILLE, PA 00166
******************************************************************************************
                                   ++ DOCKET ENTRIES ++
  Date       Entry Text
             - - - - - - - - - - - - - FIRST ENTRY - - - - - - - - - - - - - -
 2/11/2020   COMPLAINT - TORT - PRODUCT LIABILITY FIED BY JOSEPH J CAPPELLI AND
             BARRY SCATTON ESQ.
10202303102020             Bedford County Prothonotary                             Page     4
     PYSPRT                    Civil Case Detail Report                             3/10/2020
Case No........... 2020-00180   BEDFORD COUNTY (vs) PURDUE PHARMA L P ETAL
Reference No......                                             Filed..........     2/11/2020
Case Type......... TORT - PRODUCT LIABILI                      Time...........          1:38
Judgment..........               $.00                          Execution Date.     0/00/0000
Judge Assigned.... LIVENGOOD TRAVIS W                          Jury Trial.....
Disposed Desc.....                                             Disposed Date..     0/00/0000
------------ Case Comments ------------                        Higher Crt 1...
                                                               Higher Crt 2...
                                      288 Image page(s) exists for this entry
             -------------------------------------------------------------------
3/04/2020    PRAECIPE FOR ENTRY OF APPEARANCE FILED WITH CERTIFICATE OF SERVICE
             FILED BY DOUGLAS K ROSENBLUM
                                        2 Image page(s) exists for this entry
             -------------------------------------------------------------------
3/04/2020    PRAECIPE FOR ENTRY OF APPEARANCE FILED WITH CERTIFICATE OF SERVICE
             FILED BY MARC S RASPANTI
                                        2 Image page(s) exists for this entry
             - - - - - - - - - - - - - - LAST ENTRY - - - - - - - - - - - - - -
******************************************************************************************
                                  ++ Escrow Information ++
Cost / Fee                        Beg. Balance      Pymts/Adjmts      End. Balance
TAX ON CMPLT                             $.50              $.50              $.00
JCP FEE                                $40.25            $40.25              $.00
AUTO. FEE                               $5.00             $5.00              $.00
COMPLAINT FILED                        $83.25            $83.25              $.00
                                  ------------      ------------      ------------
                                      $129.00           $129.00              $.00
******************************************************************************************
                                  End of Case Information
